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  UNITED STATES OF AMERICA

        v.                          CRIMINAL NO. 4:17cr45


  JOSEPH BENSON,
  MARK WALLACE,
  BRYAN BROWN,
  and
  ROSUAN KINDELL

                             GOVERNMENT EXHIBIT LIST


   Exhibit No.                  Description                 Stip            Admitted
                                                            No.
                                                                   Witness: S. Mendola
        1        Photograph – Front of house                       Date: 4-11-18
                                                                   Admitted: yes
                                                                   Witness: S. Mendola
        2        Photograph – Side of house                        Date: 4-11-18
                                                                   Admitted: yes
                                                                   Witness: S. Mendola
        3        Photograph – Back of house                        Date: 4-11-18
                                                                   Admitted: yes
                                                                   Witness: M. Scott
        4        Photograph – Front door of house                  Date: 4-11-18
                                                                   Admitted: yes
                                                                   Witness: M. Scott
        5        Photograph – Inside of entrance to house          Date: 4-11-18
                                                                   Admitted: yes
                                                                   Witness: M. Scott
        6        Photograph – Front living room                    Date: 4-11-18
                                                                   Admitted: yes
                                                                   Witness: M. Scott
        7        Photograph – Kitchen area                         Date: 4-11-18
                                                                   Admitted: yes
                                                                   Witness: M. Scott
        8        Photograph – Back living room                     Date: 4-11-18
                                                                   Admitted: yes
                                                                   Witness: M. Scott
        9        Photograph – Floor near back door                 Date: 4-11-18
                                                                   Admitted: yes
                                                                   Witness: M. Scott
       10        Photograph – Victim on back patio                 Date: 4-11-18
                                                                   Admitted: yes
                                                                   Witness: M. Scott
       11        Photograph – Victim on back patio                 Date: 4-11-18
                                                                   Admitted: yes




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   Exhibit No.                   Description                    Stip               Admitted
                                                                No.
                                                                       Witness:
       12        Photograph – Victim                                   Date:
                                                                       Admitted:
                                                                       Witness: S. Smithley
       13        Photograph – Up close of victim’s face                Date: 4-11-18
                                                                       Admitted: yes
                                                                       Witness: T. Walker
       14        Photograph – Victim                                   Date: 4-11-18
                                                                       Admitted: yes
                                                                       Witness: T. Walker
       15        Photograph – Spiderman Backpack                       Date: 4-11-18
                                                                       Admitted: yes
                                                                       Witness: T. Walker
       16        Photograph – Plastic chair                            Date: 4-11-18
                                                                       Admitted: yes
                                                                       Witness:
       17        NNPD Interview – J.W. (audio)                         Date:
                                                                       Admitted:
                                                                       Witness:
      17A                                                              Date:
                 NNPD Interview – J.W. (Transcript)                    Admitted:
                                                                       Witness:
      17B                                                              Date:
                 CHKD Interview – J.W. (audio/video)                   Admitted:
                                                                       Witness:
      17C                                                              Date:
                 CHKD Interview – J.W. (Transcript)                    Admitted:
                                                                       Witness: S. Smithley
       18        Photograph – Front door                               Date: 4-11-18
                                                                       Admitted: yes
                                                                       Witness: S. Smithley
       19        Photograph – Broken door frame                        Date: 4-11-18
                                                                       Admitted: yes
                                                                       Witness: S. Smithley
       20        Physical Evidence – Piece of door frame               Date: 4-11-18
                                                                       Admitted: yes
                                                                       Witness: S. Smithley
       21        Physical Evidence – Piece of door frame               Date: 4-11-18
                                                                       Admitted: yes
                                                                       Witness:
       22        Photograph – Piece of door lock                       Date:
                                                                       Admitted:
                                                                       Witness: S. Smithley
       23                                                              Date: 4-11-18
                 Photograph –blood stain in front living room          Admitted: yes
                 Photograph – up close view of blood stain in          Witness: S. Smithley
                                                                       Date: 4-11-18
       24        front living room                                     Admitted: yes




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   Exhibit No.                   Description                  Stip               Admitted
                                                              No.
                                                                     Witness: S. Smithley
       25        Photograph – Plastic chair in living room           Date: 4-11-18
                                                                     Admitted: yes
                                                                     Witness: S. Smithley
       26        Photograph – Blood and hair of victim               Date: 4-11-18
                                                                     Admitted: yes
                                                                     Witness: S. Smithley
       27        Photograph – Plastic chair                          Date: 4-11-18
                                                                     Admitted: yes
                                                                     Witness: S. Smithley
       28        Physical Evidence – Plastic chair                   Date: 4-11-18
                                                                     Admitted: yes
                                                                     Witness: S. Smithley
       29        Physical Evidence – Piece of plastic chair          Date: 4-11-18
                                                                     Admitted: yes
                                                                     Witness: S. Smithley
       30        Photograph – Blood on chair                         Date: 4-11-18
                                                                     Admitted: yes
                                                                     Witness: S. Smithley
                 Physical Evidence – Swab from blood on
       31                                                            Date: 4-11-18
                 plastic chair                                       Admitted: yes
                                                                     Witness: S. Smithley
       32        Photograph – Floor in living room into              Date: 4-11-18
                 hallway                                             Admitted: yes
                                                                     Witness: S. Smithley
       33        Photograph – Floor with blood                       Date: 4-11-18
                                                                     Admitted: yes
                                                                     Witness: S. Smithley
       34        Photograph – Kitchen                                Date: 4-11-18
                                                                     Admitted: yes
                                                                     Witness: S. Smithley
       35        Photograph – Side of refrigerator                   Date: 4-11-18
                                                                     Admitted: yes
                                                                     Witness:
       36        Photograph – Floor entering kitchen                 Date:
                                                                     Admitted:
                                                                     Witness:
       37        Photograph – Floor back living room                 Date:
                                                                     Admitted:
                                                                     Witness: S. Smithley
       38        Photograph – Floor back living room                 Date: 4-11-18
                                                                     Admitted: yes
                                                                     Witness: S. Smithley
                 Photograph – Blood on floor in back living
       39                                                            Date: 4-11-18
                 room                                                Admitted: yes
                                                                     Witness: S. Smithley
       40        Photograph – Back living room                       Date: 4-11-18
                                                                     Admitted: yes




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   Exhibit No.                  Description                    Stip               Admitted
                                                               No.
                                                                      Witness: S. Smithley
       41        Photograph – Floor back living room                  Date: 4-11-18
                                                                      Admitted: yes
                                                                      Witness: S. Smithley
                                                                      Date: 4-11-18
       42        Photograph – Blood on couch cushion                  Admitted: yes


                                                                      Witness: S. Smithley
       43        Photograph – Blood on couch                          Date: 4-11-18
                                                                      Admitted: yes
                                                                      Witness:
                 Photograph – Floor in back living room near
       44                                                             Date:
                 back door                                            Admitted:
                                                                      Witness: S. Smithley
       45        Photograph – Possible shoe print                     Date: 4-11-18
                                                                      Admitted: yes
                                                                      Witness: S. Smithley
       46        Photograph – Floor with blood stains                 Date: 4-11-18
                                                                      Admitted: yes
                                                                      Witness: S. Smithley
       47        Photograph – Floor with blood stain                  Date: 4-11-18
                                                                      Admitted: yes
                                                                      Witness: S. Smithley
       48        Photograph – Blood stain                             Date: 4-11-18
                                                                      Admitted: yes
                                                                      Witness: S. Smithley
       49        Photograph – Backdoor                                Date: 4-11-18
                                                                      Admitted: yes
                                                                      Witness: S. Smithley
       50        Photograph – Back screen door                        Date: 4-11-18
                                                                      Admitted: yes
                                                                      Witness:
       51        Photograph – Back living room                        Date:
                                                                      Admitted:
                 Physical Evidence –                                  Witness: S. Smithley
       52                                                             Date: 4-11-18
                 .40 S&W CBC cartridge case                           Admitted: yes
                 Physical Evidence –                                  Witness: S. Smithley
       53                                                             Date: 4-11-18
                 .40 S&W cartridge case                               Admitted: yes
                 Physical Evidence –                                  Witness: S. Smithley
       54                                                             Date: 4-11-18
                 .40 S&W cartridge case                               Admitted: yes
                 Physical Evidence –                                  Witness: S. Smithley
       55                                                             Date: 4-11-18
                 Copper jacketed bullet                               Admitted: yes
                 Physical Evidence –                                  Witness: S. Smithley
       56                                                             Date: 4-11-18
                 .40 S&W cartridge case                               Admitted: yes



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   Exhibit No.                  Description                    Stip               Admitted
                                                               No.
                 Physical Evidence –                                  Witness: S. Smithley
       57                                                             Date: 4-11-18
                 .40 S&W CBC cartridge case                           Admitted: yes
                                                                      Witness: S. Smithley
       58        Photograph – Kitchen counter                         Date: 4-11-18
                                                                      Admitted: yes
                                                                      Witness: S. Smithley
       59        Photograph – .40 S&W CBC cartridge case              Date: 4-11-18
                                                                      Admitted: yes
                                                                      Witness:
       60        Photograph – .40 S&W cartridge case                  Date:
                                                                      Admitted:
                                                                      Witness:
       61        Photograph – .40 S&W cartridge case                  Date:
                                                                      Admitted:
                                                                      Witness:
       62                                                             Date:
                 Photograph – Copper jacketed bullet                  Admitted:
                                                                      Witness:
       63        Photograph – .40 S&W cartridge case                  Date:
                                                                      Admitted:
                                                                      Witness: S. Smithley
       64        Photograph – .40 S&W CBC cartridge case              Date: 4-11-18
                                                                      Admitted: yes
                                                                      Witness: S. Smithley
       65        Photograph – Victim’s bedroom showing TV             Date: 4-11-18
                                                                      Admitted: yes
                                                                      Witness: S. Smithley
       66        Photograph – Victim’s bedroom (no TV)                Date: 4-11-18
                                                                      Admitted: yes
                                                                      Witness: S. Smithley
                 Physical Evidence – $1,640.00 United States
       67                                                             Date: 4-11-18
                 currency                                             Admitted: yes
                                                                      Witness: S. Smithley
       68        Photograph – Hallway; backpack hanging on            Date: 4-11-18
                 door                                                 Admitted: yes
                                                                      Witness: S. Smithley
       69        Photograph – Marijuana from backpack                 Date: 4-11-18
                                                                      Admitted: yes
                                                                      Witness: S. Smithley
                                                                      Date: 4-11-18
       70        Physical Evidence – Marijuana                        Admitted: yes


                 DEA Chemical Analysis Report                         Witness:
       71                                                             Date:
                 09/13/17 – Marijuana                                 Admitted:
                                                                      Witness: S. Smithley
       72        Photograph – Victim’s body                           Date: 4-11-18
                                                                      Admitted: yes



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   Exhibit No.                    Description             Stip               Admitted
                                                          No.
                                                                 Witness: S. Smithley
       73        Photograph – Victim – left thigh wound          Date: 4-11-18
                                                                 Admitted: yes
                                                                 Witness: S. Smithley
       74                                                        Date: 4-11-18
                 Photograph – Victim – back wound                Admitted: yes
                                                                 Witness:
       75        Photograph – Victim - head wound                Date:
                                                                 Admitted:
      76A                                                        Witness: S. Smithley
                 Crime Scene Diagram                             Date: 4-11-18
                                                                 Admitted: yes
                                                                 Witness: S. Smithley
       76B       Crime Scene Diagram                             Date: 4-11-18
                                                                 Admitted: yes
                                                                 Witness:
       77        Photograph – Victim shorts                      Date:
                                                                 Admitted:
                                                                 Witness:
       78        Photograph – Victim underwear                   Date:
                                                                 Admitted:
                                                                 Witness:
       79        Photograph – Up close victim underwear          Date:
                                                                 Admitted:
                                                                 Witness: S. Smithley
       80        Physical Evidence – Bullet                      Date: 4-11-18
                                                                 Admitted: yes
                                                                 Witness: S. Smithley
       81        Physical Evidence – Bullet                      Date: 4-11-18
                                                                 Admitted: yes
                                                                 Witness: S. Smithley
                 Physical Evidence – Benson cellular
       82                                                        Date: 4-11-18
                 telephone                                       Admitted: yes
                                                                 Witness: S. Smithley
       83        Photograph – Benson cellular telephone          Date: 4-11-18
                                                                 Admitted: yes
                                                                 Witness: S. Smithley
       84                                                        Date: 4-11-18
                 Physical Evidence - Benson buccal swab          Admitted: yes
                                                                 Witness: S. Smithley
       85                                                        Date: 4-11-18
                 Physical Evidence – Victim blood card           Admitted: yes
                                                                 Witness: Dr. Kinnison
       86                                                        Date: 4-12-18
                 Autopsy Report                                  Admitted: yes
                                                                 Witness: Dr. Kinnison
      86A –                                                      Date: 4-12-18
       86L       Autopsy Photographs                             Admitted: yes




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   Exhibit No.                   Description                  Stip               Admitted
                                                              No.
                                                                     Witness: G. Hill
                                                                     Date: 4-12-18
      87A        Certificate of Analysis – July 21, 2009             Admitted: yes

                                                                     Witness: G. Hill
       87B       Certificate of Analysis – November 4, 2009          Date: 4-12-18
                                                                     Admitted: yes
                                                                     Witness: G. Hill
      87C        Certificate of Analysis – November 9, 2010          Date: 4-12-18
                                                                     Admitted: yes
                                                                     Witness:
                 Screenshots – Benson cellular telephone -           Date:
       88
                 “Bro” in contact list                               Admitted:
                                                                     Witness:
                 Screenshots – Benson cellular telephone -           Date:
       89
                 “Bro” work number (617) 602-6862                    Admitted:
                                                                     Witness: Sgt. Smithley
                 Screenshots – Benson cellular telephone -           Date: 4-12-18
       90
                 “Bro” mobile number (617) 980-3063                  Admitted: yes
                                                                     Witness: Sgt. Smithley
                 Screenshots – Benson cellular telephone-            Date: 4-12-18
      90A        “Bro” mobile number (617) 980-3919                  Admitted: yes
                                                                     Witness: Sgt. Smithley
                 Screenshots – Benson cellular telephone -
       91                                                            Date: 4-12-18
                 “M E Z” in contact list                             Admitted: yes
                                                                     Witness: Sgt. Smithley
                 Screenshots – Benson cellular telephone -
       92                                                            Date: 4-12-18
                 “M E Z” work number (757) 696-0708                  Admitted: yes
                                                                     Witness:
                 Certificate of Analysis – April 23, 2009            Date:
       93
                 Bullets/casings                                     Admitted:
                                                                     Witness: J. Valenti
                 Physical Evidence – S & W .40 Caliber               Date: 4-12-18
       94
                 C2, Serial No.: PN7124                              Admitted: yes
                                                                     Witness: J. Valenti
                 Physical Evidence -                                 Date: 4-12-18
      94A
                 Test Fires – S&W .40 Caliber C2                     Admitted: yes
                                                                     Witness: J. Valenti
                 Physical Evidence – S & W Ruger P94                 Date: 4-12-18
       95
                 Serial No.: 341-21524                               Admitted: yes
                                                                     Witness: J. Valenti
                 Physical Evidence -                                 Date: 4-12-18
      95A
                 Test Fires – S&W Ruger P94                          Admitted: yes
                                                                     Witness: C. Lennon
                 Wiretap Telephone Call – Audio
       96                                                      9     Date: 4-12-18
                 Call No. 513                                        Admitted: yes
                                                                     Witness: C. Lennon
                 Transcript Telephone Call No. 513             9     Date: 4-12-18
      96A                                                            Admitted: yes
                                                                     Witness: C. Lennon
                 Wiretap Telephone Call – Audio
       97                                                      9     Date: 4-12-18
                 Call No. 515                                        Admitted: yes


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   Exhibit No.                   Description            Stip             Admitted
                                                        No.

                                                               Witness: C. Lennon
                 Transcript Telephone Call No. 515       9     Date: 4-12-18
      97A                                                      Admitted: yes
                                                               Witness: C. Lennon
                 T-III Wiretap Telephone Call – Audio
       98                                                9     Date: 4-12-18
                 Call No. 516                                  Admitted: yes
                                                               Witness: C. Lennon
                 Transcript Telephone Call No. 516       9     Date: 4-12-18
      98A                                                      Admitted: yes
                                                               Witness: J. Valenti
                 NYPD Lab Report dated                         Date: 4-12-18
      99A
                 January 22, 2013                              Admitted: yes
                                                               Witness: J. Valenti
                 NYPD Lab, Firearms Analysis Section           Date: 4-12-18
       99B
                 Microscopy Worksheet                          Admitted: yes
       100       INTENTIONALLY LEFT BLANK
                                                               Witness: W. Berry
       101       Willie Berry Proffer Letter                   Date: 4-16-18
                                                               Admitted: yes
                                                               Witness: P. Swartz
       102       Greyhound Bus Records                  10     Date: 4-12-18
                                                               Admitted: yes
                                                               Witness: P. Swartz
       103       Greyhound Bus Records                  10     Date: 4-12-18
                                                               Admitted: yes
                                                               Witness: P. Swartz
       104       Greyhound Bus Records                  10     Date: 4-12-18
                                                               Admitted: yes
                                                               Witness: P. Swartz
       105       Greyhound Bus Records                  10     Date: 4-12-18
                                                               Admitted: yes
                                                               Witness: P. Swartz
       106       Greyhound Bus Records                  10     Date: 4-12-18
                                                               Admitted: yes
                                                               Witness: P. Swartz
       107       Greyhound Bus Records                  10     Date: 4-12-18
                                                               Admitted: yes
                                                               Witness: P. Swartz
       108       Greyhound Bus Records                  10     Date: 4-12-18
                                                               Admitted: yes
                                                               Witness:
       109       Angel Alliers Plea Agreement                  Date:
                                                               Admitted:
                                                               Witness: B. Douglas
       110       Brandon Douglas Plea Agreement                Date: 4-13-18
                                                               Admitted: yes
                                                               Witness:
       111       Dewayne Douglas Plea Agreement                Date:
                                                               Admitted:
                                                               Witness: W. Turner
       112       Wayne Turner Plea Agreement                   Date: 4-16-18
                                                               Admitted: yes


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   Exhibit No.                  Description                  Stip               Admitted
                                                             No.

                                                                    Witness: W. Berry
       113                                                          Date: 4-16-18
                 Willie Berry Plea Agreement                        Admitted: yes
                                                                    Witness: B. Rivera
       114                                                          Date: 4-16-18
                 Audio Phone Call – B. Rivera                       Admitted: yes
                                                                    Witness: B. Rivera
                                                                    Date: 4-16-18
      114A       Transcript – Phone Call B. Rivera                  Admitted: yes

                                                                    Witness: B. Rivera
                                                                    Date: 4-16-18
                 Audio – Excerpt of B. Rivera Phone Call            Admitted: yes
      114B
                                                                    Witness:
                                                                    Date:
                 Transcript – Excerpt of B. Rivera                  Admitted:
      114C
                 Phone Call
                                                                    Witness: C. Lennon
       115       Photograph – Corey Odle                            Date: 4-12-18
                                                                    Admitted: yes
                                                                    Witness: B. Rivera
       116       Photograph – Joseph Benson                         Date: 4-16-18
                                                                    Admitted: yes
                                                                    Witness: W. Turner
      116A       Photograph – Joseph Benson                         Date: 4-16-18
                                                                    Admitted: yes
                                                                    Witness: C. Lennon
       117       Photograph – Bryan Brown                           Date: 4-12-18
                                                                    Admitted: yes
                                                                    Witness:
       118       Photograph – Mark Wallace                          Date:
                                                                    Admitted:
                                                                    Witness:
       119       Photograph – Rosuan Kindell                        Date:
                                                                    Admitted:
                                                                    Witness:
       120       Photograph – Kenny Jones                           Date:
                                                                    Admitted:
                                                                    Witness: B. Douglas
       121       Photograph – Blue Chevy Tahoe                      Date: 4-13-18
                                                                    Admitted: yes
                                                                    Witness:
       122       Photographs – Jahnel Bocus Apartment               Date:
                                                                    Admitted:
                                                                    Witness: P. Swartz
       123       Jahnel Bocus Lease Agreement                12     Date: 4-12-18
                                                                    Admitted: yes
                 Sprint Corporation Telephone Subscriber            Witness: P. Swartz
                                                                    Date: 4-12-18
                 Record for (757) 320-9603, in the name of          Admitted: yes
       124                                                   13
                 Louis Joseph


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    Exhibit No.                  Description                    Stip            Admitted
                                                                No.

                  Sprint Corporation Telephone Call Detail             Witness: P. Swartz
                                                                       Date: 4-12-18
                  Records for (757) 320-9603, in the name of           Admitted: yes
       124A                                                     13
                  Louis Joseph, from 03/01/2009 to
                  03/30/2009
                  T-Mobile USA Telephone Subscriber                    Witness: P. Swartz
                                                                       Date: 4-12-18
       125        Record for (617) 372-2524, in the name of     14     Admitted: yes
                  Joseph Benson
                  T-Mobile USA Telephone Bill Reprint for              Witness: P. Swartz
                                                                       Date: 4-12-18
       125A       (617) 372-2524, in the name of Joseph         14     Admitted: yes
                  Benson, from 02/11/2009 to 09/09/2009
                  Sprint Corporation Telephone Subscriber              Witness: P. Swartz
                                                                       Date: 4-12-18
       126        Records for (617) 980-3919, in the name of    15     Admitted: yes
                  Quenisha Kindell
                  Sprint Corporation Telephone Bill Reprints           Witness: P. Swartz
                                                                       Date: 4-12-18
       126A       for (617) 980-3919, in the name of Quenisha   15     Admitted: yes
                  Kindell, from 11/29/2008 to 12/06/2008
                  Sprint Corporation Telephone Bill Reprints           Witness: P. Swartz
                                                                       Date: 4-12-18
       126B       for (617) 980-3919, in the name of Quenisha   15     Admitted: yes
                  Kindell, from 12/07/2008 to 01/01/2009
                  Sprint Corporation Telephone Call Detail             Witness: P. Swartz
                                                                       Date: 4-12-18
                  Records for (617) 980-3919, in the name of           Admitted: yes
       126C                                                     15
                  Quenisha Kindell, from 01/01/2009 to
                  05/11/2010
                  nTelos Telephone Subscriber Records and              Witness: P. Swartz
                                                                       Date: 4-12-18
                  Call Detail Records with Cell-Site Location          Admitted: yes
       127        Information for (757) 696-0708, in the name   17
                  of Beverly Wallace, from 01/01/2009 to
                  04/22/2009
                  nTelos Telephone Bill Reprints for (757)             Witness: P. Swartz
                                                                       Date: 4-12-18
       127A       696-0708, in the name of Beverly Wallace,     17     Admitted: yes
                  from 09/05/2007 to 01/23/2009
                  nTelos Telephone Bill Reprints for (757)             Witness: P. Swartz
                                                                       Date: 4-12-18
       127C       696-0708, in the name of Beverly Wallace,     17     Admitted: yes
                  from 03/24/2009 to 12/23/2009
                  nTelos Telephone Bill Reprints for (804)             Witness: P. Swartz
                                                                       Date: 4-12-18
       128        218-7725, in the name of Constance Brown,     18     Admitted: yes
                  from 12/29/2008 to 03/24/2009

       129        INTENTIONALLY LEFT BLANK
       130        INENTIONALLY LEFT BLANK


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    Exhibit No.                   Description                  Stip               Admitted
                                                               No.

                                                                      Witness: S. Smithley
                  Physical Evidence – Blood swab from left            Date: 4-11-18
       131
                  loveseat arm in back living room                    Admitted: yes
                                                                      Witness:
                                                                      Date:
       132        FBI DNA Report of Examination dated                 Admitted:
                  October 14, 2011
                  nTelos Telephone Subscriber Records for             Witness:
                                                                      Date:
       133        (757) 236-3939 in the name of Maurice               Admitted:
                  McLain
                  Sprint Corporation Telephone Subscriber             Witness:
                                                                      Date:
       134        Records for (757) 344-8094 in the name of           Admitted:
                  Nina Elder
                  Sprint Corporation Telephone Bill Reprints          Witness:
                                                                      Date:
       134A       for (757) 344-8094, in the name of Nina             Admitted:
                  Elder, from 03/06/2009 to 11/24/2009
                  Sprint Corporation Telephone Call Detail            Witness:
                                                                      Date:
       134B       Records for (757) 344-8094, in the name of          Admitted:
                  Nina Elder, from 12/16/2009 to 05/03/2010
                  Sprint Corporation Telephone Subscriber             Witness: P. Swartz
                                                                      Date: 4-12-18
       135        Records for (757) 768-8891 in the name of    21     Admitted: yes
                  Tequilla Walker
                  Sprint Corporation Telephone Call Detail            Witness: P. Swartz
                                                                      Date: 4-12-18
                  Records for (757) 768-8891, in the name of          Admitted: yes
       135A                                                    21
                  Tequilla Walker, from 01/01/2009 to
                  04/30/2009
                  Verizon Wireless Telephone Subscriber               Witness:
                                                                      Date:
       136        Records for (757) 272-8498 (prepaid                 Admitted:
                  number, no name)
                  Verizon Wireless Telephone Subscriber               Witness:
                                                                      Date:
       137        Records for (757) 344-3916 in the name of           Admitted:
                  Dioresly S. Lora
                                                                      Witness: P. Swartz
                                                                      Date: 4-12-18
       138        nTelos Cell-site Location List               23     Admitted: yes

                                                                      Witness:
                  nTelos Cell-site Locations Map                      Date:
       138A                                                           Admitted:
                                                                      Witness: P. Swartz
                                                                      Date: 4-12-18
       139        Sprint Corporation Repoll Number List        24     Admitted: yes




                                                11
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    Exhibiit No.                    Descriptio
                                             on                      Sttip                Admitted
                                                                                                 d
                                                                     N
                                                                     No.
                                                                             Witnesss: P. Swartz
                   Illu
                      ustration of Repoll
                                   R      numb
                                             ber, Switch /                   Date: 4--12-18
         9A
       139         Maarket                                                   Admitteed: NO/
                                                                             DEMON   NSTRATIVE
                                                                             Witnesss: P. Swartz
                                                                             Date: 4--12-18
                   Maap of Repoll area 19                                    Admitteed: NO/
       139
         9B
                                                                             DEMON   NSTRATIVE
                                                                             Witnesss: P. Swartz
        140                                                           225    Date: 4--12-18
                   Sprrint Corporattion Cell-Sitte Location L
                                                            List             Admitteed: yes
                                                                             Witnesss: P. Swartz
                   Illu
                      ustration of cell
                                   c site, cell towers and cell              Date: 4--12-18
       140
         0A        secctors                                                  Admitteed: NO/
                                                                             DEMON   NSTRATIVE
                                                                             Witnesss: P. Swartz
                                                                             Date: 4--12-18
                   Sum
                     mmary Charrt of Repoll Data
                                               D and Caall                   Admitteed: yes
        141
                   Acttivity for (61
                                   17) 980-39199, in the nam
                                                           me of
                   Rosuan Kindell on March 11-12,
                                               1       2009
                   Sum
                     mmary Charrt of Cell-Sitte Location D Data              Witnesss: P. Swartz
                                                                             Date: 4--12-18
        142        and
                     d Call Activiity for (757) 320-9603, iin the            Admitteed: yes
                   nam
                     me of Louis Joseph,
                                   J       on March
                                              M       12-13,, 2009
                   INT
                     TENTIONA     ALLY LEFT BLANK
        143
                   Summmary Charrt of Cell-Sitte Location DData              Witnesss: P. Swartz
                                                                             Date: 4--12-18
                   and
                     d Call Activiity for (757) 696-0708, iin the            Admitteed: yes
        144
                   nam
                     me of Mark Wallace,
                                    W
                   on March 13, 2009
                                   2
                   Summmary Charrt of Call Activity for (6117)               Witnesss: P. Swartz
                                                                             Date: 4--13-18
                   980
                     0-3919, in th he name of Rosuan
                                              R        Kinddell,             Admitteed: yes
        145
                   witth Greyhoun nd Bus Comp pany on Marrch 13,
                   200
                     09
                   Summmary Charrt of Repoll Data
                                               D and Caall                   Witnesss: P. Swartz
                                                                             Date: 4--13-18
        146        Acttivity for (61
                                   17) 980-39199, in the nam
                                                           me of             Admitteed: yes


        147
                   Rosuan Kindell, on March 11-12, 20099
                   Sum
                   372
                     2-2524 durin  ng the Month
                                                         
                      mmary Charrt of Call Activity for (6617)
                                               h of March 22009
                                                                             Witnesss: P. Swartz
                                                                             Date: 4--13-18
                                                                             Admitteed: yes
                                                                             Witnesss: P. Swartz
        148        Sum
                     mmary Charrt of Telepho
                                           one Activity                      Date: 4--13-18
                                                                             Admitteed: yes
                   Summmary Charrt of Telepho
                                            one Activity                     Witnesss: P. Swartz
                                                                             Date: 4--13-18
       148
         8A        inclusive of Do
                                 ouglas and Alliers
                                            A                                Admitteed: yes
                   MOOVED IN BY   Y BENSON  N
                                                                             Witnesss:
                   Phyysical Evidence -
        149                                                                  Date:
                   Maark Wallace letter
                                  l                                          Admitteed:


                                                  12
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    Exhibit No.                  Description                   Stip             Admitted
                                                               No.
                                                                      Witness: P. Preyer
                                                                      Date: 4-16-18
                  Newport News Sheriff’s Office Cell History          Admitted: yes
       150
                  (J. Benson/W. Turner)

                                                                      Witness: B. Douglas
                                                                      Date: 4-13-18
                  Photograph – Kenny Jones                            Admitted: yes
       151
                                                                      Witness: B. Douglas
                                                                      Date: 4-13-18
       152        Photograph – Angel Alliers                          Admitted: yes

                                                                      Witness: B. Douglas
                  Photograph – Dwayne Douglas                         Date: 4-13-18
       153                                                            Admitted: yes
                                                                      Witness: S. Smithley
                  Crime Scene Video                                   Date: 4-11-18
       154                                                            Admitted: yes
                                                                      Witness: Sgt. Smithley
                  Williamsburg Plantation Employment
                                                               29     Date: 4-12-18
       155        Records – Mark Wallace                              Admitted: yes
                                                                      Witness: Sgt. Smithley
                  CellDek Report – Extraction Date
       156                                                            Date: 4-12-18
                  03/04/2010                                          Admitted: yes
                                                                      Witness: P. Weaver-Sanchiz
                  GJ Testimony of Penny Weaver-Sanchiz
       200                                                            Date: 4-13-18
                  dated 5/11/15 p. 28                                 Admitted: NO / M4ID




                                               13
